Case 1:24-md-03119-MLG-LF   Document 125-1   Filed 02/24/25   Page 1 of 39




               EXHIBIT A
                   Case 1:24-md-03119-MLG-LF          Document 125-1   Filed 02/24/25   Page 2 of 39
                                                 Accessibility Menu




EOG Resources (EOG) Q2                                                                     NYSE: EOG
                                                                                           EOG Resources

2022 Earnings Call Transcript                                                              Market Cap                           $77B

By Motley Fool Transcribing – Aug 5, 2022 at 4:00PM
                                                                                           Today's Change

                                                                                                      (-0.37%) -$0.49

                                                                                           Current Price

                                                                                            $131.90

                                                                                           Price as of April 16, 2024, 11:23 a.m. ET




EOG earnings call for the period ending June 30, 2022.


EOG Resources (EOG -0.37%)
Q2 2022 Earnings Call
Aug 05, 2022, 10:00 a.m. ET


Contents:
                   Case 1:24-md-03119-MLG-LF      Document 125-1     Filed 02/24/25    Page 3 of 39
   Prepared Remarks

   Questions and Answers

   Call Participants


Prepared Remarks:

Operator


Good day, everyone, and welcome to the EOG Resources second quarter 2020
earnings results conference call. As a reminder, this call is being recorded. At       IMAGE SOURCE: THE MOTLEY FOOL.

this time, for opening remarks and introductions, I would like to turn the call over
to the chief financial officer of EOG Resources, Mr. Tim Driggers.


Please go ahead, sir.


Tim Driggers -- Chief Financial Officer


Good morning, and thanks for joining us. This conference call includes forward-looking statements. Factors
that could cause our actual results to differ materially from those in our forward-looking statements have been
outlined in the earnings release and EOG's SEC filings. This conference call also contains certain non-GAAP
financial measures.
                   Case 1:24-md-03119-MLG-LF     Document 125-1    Filed 02/24/25   Page 4 of 39
Definitions and reconciliation schedules for these non-GAAP measures can be found on EOG's website. This
conference call may also include estimated resource potential not necessarily calculated in accordance with
the SEC's reserve reporting guidelines. Participating on the call this morning are Ezra Yacob, chief executive
officer; Billy Helms, president and chief operating officer; Ken Boedeker, EVP, exploration and production; Jeff
Leitzell, EVP, exploration and production; Lance Terveen, senior VP, marketing; and David Streit, VP, investor
relations. Here's Ezra.


Ezra Yacob -- President


Thanks, Tim. Good morning, everyone. Yesterday, we declared a third special dividend for the year,
demonstrating our commitment to deliver long-term shareholder value through our cash return strategy. The
$1.50 dividend is supported by another outstanding quarter.


We posted adjusted earnings of $2.74 per share and nearly $1.3 billion of free cash flow. So far this year, we
have declared $4.30 per share of special dividends. Combined with our peer-leading annualized regular
dividend of $3 per share, we are on pace to pay out a minimum of 60% of annual free cash flow. We'll continue
to differentiate EOG as our people and our assets.


We've cultivated an inventory of premium and double premium wells that provide a 20-year runway for the
company through our focus on organic exploration supported by a decentralized organizational structure. Our
multi-basin portfolio is predominantly the result of having seven North American and one international cross-
functional exploration teams that work independently, but collaborate on shared learnings. Our role here in
Houston beyond capital allocation is to facilitate those shared learnings across all eight teams. The result is a
                   Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25   Page 5 of 39
robust exploration pipeline that continues to both improve the quality of and expand our more than 20-year
inventory of premium and double premium wells.


Our portfolio includes the Delaware Basin, which remains the largest area of activity in the company and is
delivering exceptional returns. After more than a decade of high-return drilling, our Eagle Ford asset continues
to deliver top-tier results while operating at a steady pace. In our emerging South Texas Dorado dry natural gas
play and Powder River Basin, Mowry and Niobrara Combo plays are contributing to EOG's success today and
laying the groundwork for years of future high-return investment. In addition, we have tested our Mowry and
Niobrara plays in the Northern Powder River Basin.


Our initial results have demonstrated the untapped potential of this oilier part of the basin as a complement to
the outstanding performance in the southern part of the basin. EOG's current multi-basin portfolio, offering
exposure to both geographic and product diversity, alongside several other prospects in our exploration
pipeline, will continue to expand EOG's premium inventory and provide through-the-cycle value creation.
Disciplined reinvestment within any given play depends on where we are in the development life cycle of that
play. Our multi-basin portfolio of high-return assets all competitive against our premium hurdle rate provides
invaluable flexibility to invest at the pace that allows each play to get better.


It also allows us to plan around basin-level market dynamics impacting services and infrastructure to minimize
inflation and bottlenecks. We are able to optimize reinvestment across our total portfolio to add reserves at
lower finding costs, lower the overall cost base of the company and continue to improve EOG's companywide
capital efficiency. This quarter, we are highlighting iSense, our continuous methane monitoring system that we
piloted in the Delaware Basin and are now deploying in our most active development areas. iSense is yet
                   Case 1:24-md-03119-MLG-LF     Document 125-1     Filed 02/24/25   Page 6 of 39
another example of how EOG's decentralized model not only fosters innovation across eight teams, but also
compounds the impact of innovation by taking ideas born in one operating area and expanding them across
multiple basins.


From the latest in information technology-driven solutions to reduce emissions, to innovation focused on
drilling and completions operations, to procurement of casing and sand, EOG is unique in its ability to leverage
its culture and operating structure to get incrementally better every year. The tremendous inventory and cost
improvements we've made over the last several years provides high confidence in the low breakevens and
operational flexibility of our business. This confidence in our business, along with the strength of our industry-
leading balance sheet -- this quarter to terminate a significant portion of our oil and natural gas hedges. Going
forward, we expect to hedge significantly less than the 20% to 30% of volumes we typically hedge in prior
years.


The current operating environment is challenging given the volatility of commodity prices and inflation
headwinds. Through it all, our employees have remained focused on execution and have improved the
business. Our second-quarter performance is proof of that. We delivered more oil for less capital.


And in the face of a unique inflationary environment, our forecast for capital expenditure this year remains
unchanged. EOG's consistent execution, low-cost structure, reduced hedge position and transparent cash
return strategy based on a regular dividend that we have never suspended or cut that has grown 21 of the last
24 years and is now competitive with the broader market, puts EOG in its strongest position ever to deliver
significant value to shareholders through the cycle. Here's Billy with an operational update and early look at
2023.
                  Case 1:24-md-03119-MLG-LF      Document 125-1     Filed 02/24/25   Page 7 of 39
Billy Helms -- Chief Operating Officer


Thanks, Ezra. We posted outstanding results in the second quarter. Our performance included exceeding the
midpoints of our production guidance, while capital expenditures and total per unit operating cost beat
forecasted targets. So once again, more oil for less capital.


I'd like to thank our employees for their dedication and persistence to execute and deliver such outstanding
results. As we have guided to all year, our oil growth year over year will be about 4% to return our production to
pre-COVID levels. Halfway through the year, we're on track to deliver that objective and have done so against a
challenging supply chain backdrop. The upper price pressure on steel, fuel and labor continues due to ongoing
supply constraints initiated by COVID and extended by the war in Ukraine.


The impact of this has resulted in inflationary headwinds that have meaningfully exceeded our initial
expectations earlier this year, making it increasingly challenging to maintain flat well cost. However, our
employees continue to innovate and deliver efficiencies that offset a significant portion of this inflationary
pressure. For example, in our Delaware Basin drilling operation, our downhole drilling motor program is
providing solid performance improvements, generating a 13% year-over-year increase in the footage drilled per
motor run. The motor program and other improvements are reducing drilling times versus last year.


In the Eagle Ford, our drilling teams have improved the footage drilled per day by 11% versus last year, while
also managing drilling parameters to reduce the cost of drilling fluids by 10%. In our completion operations, we
had previously discussed the company's plans to increase the use of Super Zipper completions, which are 40%
faster than normal Zipper operations. We have now utilized this technique on about 65% of EOG's completed
wells year to date, which is yielding an 11% improvement in the lateral footage completed per day. Super
                   Case 1:24-md-03119-MLG-LF        Document 125-1   Filed 02/24/25   Page 8 of 39
Zipper completions, combined with our focus on more efficient operational practices, has increased the
amount of pumping hours per day by 24%.


In addition, we continue to progress our self-sourced sand program and expect to further reduce sand cost in
the second half of the year and extend those savings into 2023. All in all, we now expect our well cost to see a
modest single-digit increase over last year, and most of this increase will be seen in the second half of the
year. However, we're able to leverage our operational flexibility within our multi-basin portfolio such that our
capital and volume plan remains unchanged. Now turning to the macro backdrop.


Oilfield service capacity remains extremely tight and is further constrained by the limited availability of
materials and experienced labor, driving uncertainty in the cost of services not only for this year, but also for
2023. These constraints are more concentrated in areas with the highest activities such as the Permian Basin.
EOG's multi-basin portfolio provides us the flexibility to manage these constraints by optimizing activity
between our multiple plays to maximize our return on investment. Just as in the past, EOG will play to its
strengths to mitigate where possible, the inflationary pressure and operational constraints facing us.


We are currently taking steps to secure services for next year and we'll know more about the 2023 outlook next
quarter. Regarding production growth, it's too early to discuss next year's plans with any degree of precision.
However, it is important to recognize we will maintain our discipline. And as we see things today, would expect
low single-digit oil growth similar to this year.


On the natural gas side, we're excited about the results of our South Texas Dorado play and its ability to play an
increasing role in supplying the growing demand of petrochemical and LNG markets along the Gulf Coast. As
we allocate future capital based on returns, this play will command additional investment, not only to meet the
                  Case 1:24-md-03119-MLG-LF      Document 125-1     Filed 02/24/25   Page 9 of 39
growing demand, but also for infrastructure needed to capture the value chain from the well head to the
market center. These investments not only generate healthy returns, but, ultimately, lead to lower well cost and
lower long-term unit operating cost. We also expect to fund our emerging and promising exploration plays as
we improve the company for the future.


Now here's Ken to give you an update on our emissions reductions effort.


Ken Boedeker -- Executive Vice President, Exploration and Production


Thanks, Billy. This quarter, we are providing details on our continuous methane monitoring project, which is an
example of the progress we're making in our emission reduction efforts. Over the last several years, our leak
detection and repair program, or LDAR, has advanced from sound site smell surveys to surveys using more
accurate optical gas imaging, to today's deployment of scalable solutions of the latest technology, continuous
methane monitoring. This technology detects potential leaks and provides real-time alerts to help accelerate
repairs and will provide data and trend analysis to potentially prevent future methane releases.


We've been evaluating continuous methane monitoring technology for a few years. There are several third-
party systems and technologies available to monitor and detect potential methane leaks, which use
intermittent or continuous monitoring technology. About 18 months ago, we began a pilot project using a
solution we built in-house named iSense, which is a fence line monitoring solution that uses methane sensing
technology to continuously monitor facilities and provide real-time alerts of potential leaks to a central control
room. We tested iSense against monitoring solutions in use and available in the market today and confirm that
our sensor detected methane release events consistent with these third-party systems.
                  Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25   Page 10 of 39
The results from these tests confirm that iSense is the most effective solution for EOG to use to detect and
accelerate leak repairs while also being scalable and economic. Like so many of our innovations, this
technology is being spearheaded by our employees across the company. Since the pilot, our employees are
rapidly deploying iSense in the field, prioritizing areas of highest potential impact. The initial installations are
focused in the Delaware Basin and currently cover about 60% of our production.


We expect that most of the remaining Delaware Basin production will be monitored by iSense by year end.
We'll continue to roll out iSense in other operating areas next year. Using our proprietary system allows us to
own the data creation, flow and storage, which is a priority with all our information systems. Owning the
iSense data and retaining direct control of its collection provides invaluable flexibility to improve both data
quality as well as the tools to analyze and integrate iSense data with existing operational data from our
production facilities.


This data, along with our ability to monitor our operations for many of our four control rooms, will enhance the
24/7 capability to continuously identify, prioritize and repair leaks. In the future, when data from iSense is
paired with other real-time production data, we expect to be able to make improvements in the design of
facilities to minimize releases. We're also optimistic that we will be able to more readily predict the likely size
and source of a methane release. Leveraging technology to enhance our methane leak detection and repair
program is another great example of EOG's culture of continuous improvement throughout all our operations.


Our employees have embraced the company's emission reduction efforts, and I'm excited to see how EOG's
culture of innovation and technology will continue to drive creative solutions. Now here's Jeff to discuss the
progress we've made in our premium combo play in the Southern Powder River Basin.
                  Case 1:24-md-03119-MLG-LF      Document 125-1     Filed 02/24/25   Page 11 of 39
Jeff Leitzell -- Executive Vice President, Exploration and Production


Thanks, Ken. Our emerging Mowry and Niobrara plays in the Southern Powder River Basin have made
significant progress recently. The powder returned to steady development last year after a pullback in 2020
driven by the pandemic. Results in 2021 were stellar with respect to both well performance and well cost
reduction.


Strong results to date, combined with the benefit of infrastructure investments have positioned the Mowry and
Niobrara plays to command more capital in 2023 and beyond. The Powder River Basin is an established
operating area for both EOG and the industry, that has experienced several chapters of development over its
history. The latest chapter for EOG kicked off in 2018 when we moved the Mowry and Niobrara plays into
commercial development. We identified nearly 1,500 net premium locations between both targets over our
130,000 net acre position in the southern part of the basin.


Since 2018, we have made great strides in fine-tuning our technical model to improve the predictability and
performance of the wells. We've delineated the different parts of the basin, high-grading the specific landing
zones. The basin has stacked potential similar to the Permian, with two widespread, well-known, very robust
source rocks in the Mowry and Niobrara. Amongst those two source rocks are hybrid opportunities, such as
silt zones and sand zones, a whole section of reservoir that really lends itself to horizontal drilling and
completions.


We have also made targeted infrastructure investments in recent years, which have helped lower the cost
structure in each play. We have added nearly 40 miles of water pipeline and 2.5 million barrels of water storage
capacity. Our water infrastructure investment in the PRB has allowed us to source about 90% of our water
                  Case 1:24-md-03119-MLG-LF        Document 125-1   Filed 02/24/25   Page 12 of 39
used in our operations from reuse, reducing costs for both water sourcing and disposal. We have also invested
in infrastructure to enable local sand sourcing.


The installation of a high-pressure gas gathering system has been instrumental in achieving a 99.8% gas
capture rate. The infrastructure is also benefiting our operating costs. Per unit lease operating expense in the
Powder is among the lowest in the company. The PRB is farther from market than some of our other premium
plays.


However, the Mowry and Niobrara have several advantages that more than make up for it. First and foremost,
the wells have some of the largest per well reserves in the company on a barrel of oil equivalent basis. In the
Southern PRB, the Niobrara and Mowry formations are more combo that is they produce a mix of oil and
natural gas. While the laterals are also longer at 9,500 feet, which contributes to the higher recoveries, well
performance is mostly due to the quality of the reservoir and composition of the products with a large
component of natural gas that supports higher recoveries.


To date, EOG has completed about 40 net Mowry Niobrara wells in the Southern PRB. This year, we anticipate
completing 15 net Mowry and Niobrara wells and expect to significantly increase that activity next year. As a
result of our exploration work on the entire Powder River Basin hydrocarbon system over the last few years, we
have also built an additional 110 net acre block in the north, extending our acreage in the productive fairway to
90 miles. The northern area is a historically underexplored part of the basin.


And after recognizing the potential in the area, we cored up acreage adjacent to our legacy acreage through a
series of trades and small bolt-on transactions. Utilizing reservoir data from multiple plays, we identified
landing zones in the Mowry and Niobrara formation with favorable petrophysical and geomechanical
                  Case 1:24-md-03119-MLG-LF       Document 125-1    Filed 02/24/25   Page 13 of 39
properties and began testing. We drilled four successful delineation wells, which we believe are industry first in
the area. While it is still early in the delineation, we've confirmed the development potential of our Northern
Powder River Basin acreage to add to our future premium inventory.


The Mowry and the Niobrara combo plays in the Southern Powder River Basin stand today well positioned to
compete for capital within the portfolio and combined with our position to the North, the basin has significant
investment potential for years to come. Next up is Lance to provide some color on our marketing position in
the Powder.


Lance Terveen -- Senior Vice President, Marketing


Thanks, Jeff. As we look further downstream, the investment in infrastructure that has lowered the cost
structure in the Southern Powder River Basin also allows us to apply our time-tested marketing strategy of
establishing multiple connections to provide market pricing diversification. Today, we hold sufficient
processing, transportation and fractionation capacity for natural gas liquids out of the PRB. We have access to
both the Mid-Continent at Conway, Kansas and the Gulf Coast at Mont Belvieu, Texas, an underappreciated
aspect of the Mowry and Niobrara wells is their prolific NGL production and the heavier post-processing mix of
NGLs they produce.


After processing to minimize ethane extraction, our Powder River Basin NGL barrel contains approximately
10% ethane, 45% propane and the remainder being butanes and more of a heavier NGLs, resulting in an NGL to
WTI price ratio of over 50%. In the first half of this year, our NGL price realization was 53.01 which is a $7.17
premium to the Mont Belvieu typical barrel. In addition, the quality of the Power River Basin oil has an average
API gravity of 44 to 47 and remains in high demand. During the first half of this year, realized prices for oil
                  Case 1:24-md-03119-MLG-LF       Document 125-1       Filed 02/24/25   Page 14 of 39
production out of the PRB or WTI plus $1.63 with access to both Guernsey, Wyoming and Cushing, Oklahoma
markets.


Stepping back, I'd like to review our marketing strategy for the company as a whole. On all our active
development areas, we want to retain control of our products and establish multiple sales points, which adds
significant value. For example, in the first half of this year, we transported an average of 188,000 barrels of oil
per day for export, which represents about 30% of gross production with optionality to sell based on a WTI or a
brand index. With the widening of the Brent-WTI spread, we have the opportunity to take advantage of our
capacity to deliver up to 250,000 barrels of oil per day for export.


For propane, we have delivered 19,000 barrels per day for export at premium prices to Mont Belvieu. We also
continue to see strong uplift in our natural gas price realizations due to our early mover advantage of securing
140,000 MMBtus per day linked to JKM through Cheniere's LNG facility in Corpus Christi. Cheniere recently
announced FID or final investment decision on Stage 3 in Corpus Christi. Once Stage 3 goes in service, EOG
will triple its exposure to JKM to 420,000 MMBtus per day.


We continue to see constructive long-term demand for all our products, both domestically, along the Gulf
Coast and internationally. To unlock that value, you need control of your products, transportation capacity and
an early mover advantage to capture spreads quickly. As we look down the road, EOG is well positioned to
capture the strength of prices in these export markets to generate additional cash flow and value to
shareholders. Next up is Ezra for concluding remarks.


Ezra Yacob -- President
                  Case 1:24-md-03119-MLG-LF     Document 125-1    Filed 02/24/25   Page 15 of 39
Thanks, Lance. We believe EOG is differentiated for the following reasons. We have a diverse portfolio of
assets across multiple basins, providing geographic and product diversity. We are a reliable and consistent,
high-performing operator.


We have among the lowest cost structures. We are committed to sustainability. We maintain an exceptional
balance sheet. Our cash return strategy is transparent.


Our regular dividend is competitive with the broader market. And finally, the EOG culture is one of a kind, and
it's at the core of our differentiated performance. We believe there are only a handful of North American E&P
companies that have the asset quality, the size, the scale to compete globally on oil and gas cost of supply.
And on top of that, produce the barrels with a lower environmental footprint.


In the future, those are the companies that the world is going to want to deliver additional barrels. And we
firmly believe that EOG is a leader in that group of North American E&Ps. Thanks for listening. We'll now go to
Q&A.


Questions & Answers:

Operator


[Operator instructions] Our first question comes from Leo Mariani, MKM Partners. Leo, please go ahead.


Leo Mariani -- MKM Partners -- Analyst
                   Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25   Page 16 of 39
Hey, guys. Totally realize that it's obviously way too early for '23 guidance at this point. You guys did have
some prepared comments, which kind of said as things stand today. You would look to grow oil kind of low
single digits next year.


I guess it feels like a bit of a pivot from what you all had said in the past, which was kind of this 8% to 10% oil
growth would kind of be optimal sort of operating speed for EOG as kind of something changed in terms of
how you look at kind of optimizing the operations versus the growth of the company.


Ezra Yacob -- President


Yes, Leo. This is Ezra. I appreciate your question. Really, what we've always talked about is that our growth is
really the output of our ability to generate high returns from a disciplined reinvestment strategy.


And that's really what we've tried to describe today is as you pointed out, first of all, it is early to talk about
2023. But ultimately, we're committed to remaining disciplined. We want to focus investment in each of our
assets at a level where they can continue to improve every year. Directionally, as we see it today, how the
supply and demand balances look, the constraints on services, the associated inflationary pressures, oil
growth will likely be similar to this year.


And as Billy highlighted, we'd expect to direct additional investment toward our Dorado natural gas play based
on the positive results that we're seeing there.


Leo Mariani -- MKM Partners -- Analyst
                   Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25     Page 17 of 39
OK. That's helpful. And I just wanted to ask on the capital. Obviously, you're one of the few companies did not
raise the capex budget thus far here in '22.


You described a lot of the ways that you're able to kind of keep costs lower and some of the innovation that
you've sort of had. I did notice that you did pull some of the wells out of the schedule this year. It's not big
numbers, just talking a few on the margin. Just wanted to get a sense, is there any thought that you're maybe
doing a little bit less to kind of stay within the budget and just kind of looking at where you were in the first half
and third quarter guidance.


Is it fair to say you're probably kind of in the upper half of the capex for the year?


Billy Helms -- Chief Operating Officer


Yes. Leo, this is Billy Helms. Yes. The small change in well count is really just a result of two things: One is
timing.


Some of the wells that were scheduled to complete at year-end are going to slip into the next year. It's just a
timing thing. The other factor that plays into that is a change in working interest in some of our plays. We've
had slightly lower working interest in some of our Delaware Basin wells in the second half of the year.


Just to illustrate how minimal that is, that's only about a 2% average change in working interest across the
year. So it's a very minuscule amount, but that explains the change in the well count. As far as the capex, we're
very pleased, as you can tell from the comments we made about the ability of our teams to continue to
innovate and drive efficiencies in our business to offset inflation. Inflation turns out to be just a little bit higher
                  Case 1:24-md-03119-MLG-LF       Document 125-1   Filed 02/24/25   Page 18 of 39
than we anticipated this year, so we are going to see a slight increase in our well cost as we go through
especially the second half of the year, but we're still confident we're going to stay within our guidance and don't
expect to face additional costs that will increase our budget.


Leo Mariani -- MKM Partners -- Analyst


Great. Thanks, guys.


Operator


Our next question comes from Arun Jayaram from JPMorgan Chase. Arun, please go ahead.


Arun Jayaram -- J.P. Morgan -- Analyst


Yeah. Good morning. I appreciate the color on the Powder River Basin, but I guess my first question is just
thinking about capital allocation between the basins as we think about next year. Today, Ezra, I think 22 of 24
of your rig lines are either in the Delaware or Eagle Ford.


You have one rig in the Powder River Basin. You mentioned in your comments you plan to lean a little bit on
Dorado next year and significantly increase perhaps the mix of activity in the Powder River Basin. Just
wondering if you can give us a sense of how your activity could shift as we think about next year and how
many rig lines you may have in the Powder.


Billy Helms -- Chief Operating Officer
                   Case 1:24-md-03119-MLG-LF        Document 125-1     Filed 02/24/25   Page 19 of 39
Yes, Arun. This is Billy. As far as capital allocation, as we see it today, there's a lot of factors play into that, of
course, and it's early to say where we're going to be still well have quite a bit of activity in the Delaware Basin
going forward. It is a premier play in the company, and certainly, that will continue to command quite a bit of
capital.


Eagle Ford has been, as you know, a performance engine for the company for the last decade or longer. And
that will -- and they're generating outstanding results. So that will still command capital. As we compare -- we
allocate capital based on returns and certainly, the encouragement we're seeing from Dorado and the activity
there is showing us the ability to be able to continue to fund that program going forward.


And then the confidence we have in the new emerging Powder River Basin gives us a sense that, that will also
come in quite a bit of activity. So the ratios, I would say, are going to stay similar. As far as the Powder River
Basin and our overall capital plan, that will depend on the outlook for commodities at that time, but the -- what
we're going to see in the powder, just to be clear, is a shift of activity from some of their older traditional plays,
the Turner and the Parkman to some of the deeper, more emerging plays in the Mowry more specifically in the
Nio. So you'll see that shift.


The amount of capital allocated to that play will also depend on just the commodity price outlook that we see
for the year once we get closer to that. But overall, we're -- the takeaway from that, I would think, would be that
the flexibility we have with the multiple plays we have to change to continue to add value long term to the
shareholders.


Arun Jayaram -- J.P. Morgan -- Analyst
                   Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25   Page 20 of 39
Great. My follow-up is just maybe one for Tim. Just maybe a housekeeping question. Tim, in the 10-Q, you
have $1.8 billion of collateral postings associated with hedge activity.


I was wondering if you could help us think about the potential runoff of those collateral postings as well as
maybe the timing of when you plan to pay off the $1.25 billion of bonds. Is that later this year or in '23?


Tim Driggers -- Chief Financial Officer


Yes. This is Tim. As far as the bond, that is '23. It's in the first quarter of 2023 is when that will mature.


We have no plans to pay it off early. As far as the collateral they run off kind of like the hedges that we've given
you the timing of when those hedges are in our 10-Q. So it kind of runs off as that timing comes off. It all
depends, of course, on where the strip goes, how that comes off.


But right now, it's based on the strip, and that would be how it would come off as just as those run off.


Arun Jayaram -- J.P. Morgan -- Analyst


All right. Great. Thanks.


Operator


Our next question comes from Scott Hanold from RBC Capital Markets. Scott, please go ahead.


Scott Hanold -- RBC Capital Markets -- Analyst
                  Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25   Page 21 of 39
Yes. Thanks. And if I could ask a question, one more question maybe on the PRB. You all highlight some good
commodity price realizations that you're all seeing there.


Is that something that you think can persist going forward? And is it a function of what's happening in the
basin overall? Or is it specifically something EOG's got in place that allows you to kind of benefit there a little
bit more.


Lance Terveen -- Senior Vice President, Marketing


Scott, this is Lance Terveen. Thanks for your question. Yes, when you think about the price realizations, I think
the broader message is just you can really just see how competitive the powder is with all our other plays. I
mean, operationally, I mean, you heard Jeff kind of outline a lot of things in the opening comments, but even
for our products, we continue to just really see it being in high demand.


For example, like even on the crude, you have to remember one of the important attributes up in the powder,
especially related to EOG, is just think about the crude quality. I mean today, we're kind of seeing right around
44, 45. We expect that to kind of be a 44, 47 kind of over time. And so we really want to protect that quality.


We've secured 500,000 barrels of storage is kind of in the field. We've got firm capacity to both Guernsey and
the Cushing market. So having that multiple flexibility where we can show that kind of high demand barrel and
the API quality that we have keep it kind of segregated with that API quality, it's really a value when we sell
direct to our refiners. And so just being able to have that value and have that quality and consistency is key,
and so we draw a lot of that experience from what we've done in the Eagle Ford and also in the Powder -- I
mean, I'm sorry, in the Delaware Basin.
                  Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25   Page 22 of 39
But yes, that's -- it's -- the quality is what you're seeing on the price realizations. And then as you think about the
NGLs, you're seeing mostly ethane rejection that's happening there. So most of that, you're seeing the ethane
that's going to be going more toward like an MMBtu or selling that as a gas. And so that is a heavier barrel that
you're seeing that we kind of show.


But again, we have the market flexibility. We can show that barrel in Conway. We can also show that barrel in
Mont Belvieu. So we can kind of are that flexibility to and look at those spreads.


So getting kind of back to your question, I mean, really the quality and then the flexibility that we have with the
multiple markets and it's in an area that's absolutely in demand as we --


Scott Hanold -- RBC Capital Markets -- Analyst


Got it. And as my follow-up, I want to ask a question on Trinidad. And it looks like you're guiding down a fair
amount for gas production in Trinidad. And I know you've had some exploration success there, and I think
you're drilling and development or you have or you're going to be drilling a development well this year.


So can you give us a sense of like what to expect from trended at? And is it more of the relative pricing
dynamic there versus Dorado in terms of like which play is going to get sort of more capital investment?


Billy Helms -- Chief Operating Officer


Yes, Scott. This is Billy Helms. So for Trinidad, we've had, as you know, a long successful history of really
maintaining pretty much flat production with minimal investment, and it generates quite a bit of cash flow for
                     Case 1:24-md-03119-MLG-LF     Document 125-1      Filed 02/24/25   Page 23 of 39
the company. So it's been a very successful project for multiple decades now.


We still see exploration opportunities and are still counting on exploration success going forward just based
on the things we see today. The small guide down in gas production, especially in the next, say, the rest of this
year, is based on some turnaround projects we have on some of the compressor stations and platforms in the
field. So it's just an operational issue really in the manifest in the third quarter mainly. But as we start to drill
some of these exploration wells, we still have confidence that production base will continue.


Scott Hanold -- RBC Capital Markets -- Analyst


OK. OK. So it should turn around back to sort of normal levels by early '23. Is that right?


Billy Helms -- Chief Operating Officer


Yes. That's right.


Scott Hanold -- RBC Capital Markets -- Analyst


Got it. Thank you.


Operator


Our next question comes from Scott Gruber from Citigroup. Scott, please go ahead.


Scott Gruber -- Citi -- Analyst
                   Case 1:24-md-03119-MLG-LF        Document 125-1     Filed 02/24/25   Page 24 of 39
Yes. Good morning. Just coming back to the inflation question, I know you guys have previously commented
that you don't see an outsized inflationary impact on EOG next year from contract role or any other factors. But
have you engaged in these earlier than normal discussions for services and consumables, etc., are you still
confident that the inflation that you experienced next year will not be any worse than the industry trends?


Billy Helms -- Chief Operating Officer


Yes, Scott. This is Billy Helms, again. On the inflation question, I think I would distinguish a little bit there. I
think we're recognizing the inflation that everybody else in the industry is seeing.


We're able to combat that really through a lot of the efficiencies we drive through our business. And that's
really a result of the culture we have of continuous improvement and the quality of the staff we have in each of
our operating divisions. So now the contracting strategy has always been a long-term thing for EOG. We
worked with our vendors, our partners on the service side.


And our contracts are always a little bit staggered so that all the contracts don't roll off at the same time. That
gives us a lot of flexibility to also manage the commodity cycles to make sure we have a consistent operating
performance level going into the year. We always start about this time of year. So I wouldn't say we're starting
any earlier than we typically do.


I think we always started sometime here in the middle part of the year to start securing services for the next
year as we see things play out. We take opportunities as we see those emerge to make arrangements with
vendors and our service partners to secure those services in the upcoming year and that determines the level
of services that we secure for next year's well cost. We typically like to think about securing about 50% to 60%
                    Case 1:24-md-03119-MLG-LF     Document 125-1     Filed 02/24/25   Page 25 of 39
of the well cost ahead of any given year. And that range depends on the opportunities we see with service
partners to lock in those services.


This year, we expect to be somewhat the same as we go into next year, but it -- we'll see as we get closer to the
year-end, but that's how we see the inflation. Obviously, we expect with the tightness in the market, we're going
to see some additional inflationary pressure going into next year. So just anticipating that, we could see
another uptick in our well cost going into next year, but we expect to, again, moderate a lot of that with our
efficiency gains.


Scott Gruber -- Citi -- Analyst


Got it. And then a follow-up here on the 60% distribution threshold really in light of the early hedge settlement
payments you made this quarter, so if you include those payments which you guys are doing your reporting,
then you guys are running ahead of the threshold. But if you assume those are more of a onetime hit to free
cash, then you're running a little bit behind that threshold. And I know you look at the threshold on an annual
basis.


So I guess the question is, what's your appetite to approach the 60% payout for the year removing the impact
of the $1.3 billion in early head settlement payments?


Ezra Yacob -- President


Yes, Scott. This is Ezra. Just a little bit of color on that. Obviously, the board decides the dividend each quarter.
                   Case 1:24-md-03119-MLG-LF      Document 125-1     Filed 02/24/25   Page 26 of 39
They review our business needs, the macro environment, the cash position, so on and so forth. And as you
said, the $1.50 per share special this quarter, which brings the total dividend commitment to right at $7.30 per
share is on pace to achieve the minimum of a 60% free cash flow return. And I think that's the emphasis on
there is that the 60% is a minimum. Ultimately, it's up to the board, like I said, to return additional cash in 2022.


The way to think about those early terminations of the hedges is really a reflection, I think, of our confidence in
improving the financial profile of the company. Our ability to navigate inflationary pressures this year flexibility
to allocate capital across multiple resource plays, which are each delivering exceptional returns and really our
ability to continue to lower the cost base of the company. These are all things that deliver expanded free cash
flow opportunities for EOG.


Scott Gruber -- Citi -- Analyst


Great. Appreciate the color, Ezra. Thank you.


Operator


Our next question comes from Neal Dingmann from Truist Securities. Neal, please go ahead.


Neal Dingmann -- Truist Securities -- Analyst


Good morning. My first question is maybe for you or Tim, on a little bit different capital allocation. Specifically,
I'm trying to get a sense of what you all would need to see either quantitative and qualitatively need to see to
start potentially look at more or, I guess, as guys calling out there leading into buybacks. Do you have an
                   Case 1:24-md-03119-MLG-LF       Document 125-1      Filed 02/24/25   Page 27 of 39
understand you all have bought back shares for years and we did see a decent decline a month or so from the
highs.


So I'm just wondering when you guys think about buybacks, what -- when you say opportunistic, what really
goes into that?


Ezra Yacob -- President


Yes, Neal. This is Ezra. Thank you for the question. Basically, we evaluate a buyback just like any other
investment decision.


And really, what we do is we look to see how it's going to create long-term shareholder value. And as you
highlighted and as we've discussed previously, the $5 billion share repurchase authorization that we have in
place, we've talked about using it opportunistically. And what that means for us is using it during times of what
we would say are significant dislocations in the market. And that's as opposed to a more programmatic
system.


And quite frankly, this year, during Q2, we didn't really see a what we would say was a significant dislocation.
We definitely witnessed a lot of volatility, I think, rather than a dislocation. The volatility was due -- is driven by
changes to the oil inventories that we saw that was really due to the SPR releases. We saw some concern over
demand destruction associated with the inflationary pressures across the broad market.


We saw some potential for weaker demand associated with the uptick of COVID cases. But ultimately, in our
view, these are all kind of short-term events that really don't change the fundamental supply and demand
                  Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25   Page 28 of 39
picture.


Neal Dingmann -- Truist Securities -- Analyst


I like how you all thinking about that, Ezra. And then my second or follow-up likely for Billy, just on vertical
integrations, specifically. You all have other areas -- other oilfield service areas besides you mentioned the self-
sourced sand. And I'm just wondering do you have other areas that, I guess, you would call it more vertically
integrated or that you would think about doing that.


And I'm just wondering that also on that self-source sand, how much capacity do you have on that side?


Billy Helms -- Chief Operating Officer


Yes, Neal, this is Billy. Certainly, on the self-source sand, you named one of the primary ones. It's a big part of
our program. We've been doing that, as you might remember, for more than a decade.


And what we've been able to do is find ways to get the source of the sand closer and closer to the wellhead
minimizing not only the cost of the product, but also the transportation involved in getting it to the wellhead.
We are expanding that through the rest of the year such that we'll be able to continue to supply greater and
greater amounts from our own self-sourced mines, so we're excited about the growth in that. Other areas that
we self-source, there's a number of them. I mentioned briefly in the prepared comments, a note to our efforts
to take control of the drilling motors that we use in our drilling operation.
                   Case 1:24-md-03119-MLG-LF       Document 125-1   Filed 02/24/25   Page 29 of 39
That's a small thing maybe, but it's a big driver of performance when it comes to that part of the business. And
we recognized that a couple of years ago, built up some expertise in our staff to address that. We worked
specifically to not only design, but also and oversee the maintenance of those motors that ultimately drives
the improved performance and we're seeing great results from that program. And that's another differentiator
in our drilling performance that allows us to continue to offset inflation.


Some of the other things, as you know, we've been managing our tubular inventory for many, many years as
well. we deal directly with the steel mills, which gives us a lot of advantages in the sense of having some
clarity or some certainty on the market and kind of what that's indicating to get ahead of issues where we see
it, take advantage of opportunities to secure those at lower cost and make sure that we have pipe for our
programs on a go-forward basis. So those are maybe a couple of other things that would give you some color
on what we're doing.


Neal Dingmann -- Truist Securities -- Analyst


That's great details, Billy. Thank you, guys, for the time.


Operator


Our next question comes from Doug Leggate from Bank of America. Doug, please go ahead. Doug Leggate,
your line is now open. You can proceed with your question.


Doug Leggate -- Bank of America Merrill Lynch -- Analyst
                   Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25   Page 30 of 39
Good morning, everyone. Thanks for letting me on. Ezra, Slide 5, your latest assessment of cash flow doesn't
give any numbers around it in terms of breakeven. I wonder if I could just ask you to look into 2023 and give us
an update of where you see your sustaining capital and the breakeven oil and gas prices that go along with
that, the assumptions behind that, if you don't mind.


Ezra Yacob -- President


Yes, Doug. We haven't released that and we did remove the breakeven slide from earlier this year because of
the significant change in gas prices that have gone on in the first six months of the year. The best thing I can
point to is the fact that we continue to bring on lower-cost reserves, basically focused on the premium and
double premium wells into the cost base of the company. You can look at a reduction unit costs and the
reduction in our DD&A rate year over year to kind of infer the reduction in our breakevens.


Doug Leggate -- Bank of America Merrill Lynch -- Analyst


OK. I'll push David on this and see if we can get him to put it back in a pretty critical input to, obviously, the
market's perception of free cash flow, but I appreciate the answer. My follow-up is, I apologize in advance if
you're not going to like this, but just a follow-up on the share buyback question. Dislocations in your stock is
subjected obviously.


But if I look at your share performance in both absolute terms and in relative terms in particular for the last
four or five years, it's really struggled to against the rest of the sector. And one could interpret from your
comments about dislocations and perhaps to buy back that you don't see value in your stock. So I wonder if
you could address that versus the transitory nature of a special dividend, why you wouldn't want to step in
                   Case 1:24-md-03119-MLG-LF       Document 125-1      Filed 02/24/25   Page 31 of 39
because just about everyone of your peers is doing something on buybacks and their share performance is
quite different from yours on a relative basis. So any thoughts around that would be appreciated.


Ezra Yacob -- President


Yes, Doug. The first thing I would say is that that's right. I think it's stating the obvious that I feel that our stock
is undervalued right now. But again, we look at that buyback and investment in that buyback, we compare it
against other opportunities in the business to create shareholder value -- long-term shareholder value.


And when we do that, when we compare it versus reinvesting in the business, drilling these double premium --
these premium wells at a 30% and a 60% direct after-tax rate of return based on $40 oil and $2.50 natural gas,
it's a very, very high hurdle. So when we think about what can create longer-term value for the shareholder, we
see the benefit of reinvesting in the business, driving down our long-term well costs, lowering the breakevens
as we talked about, as a very, very competitive portion of allocation. Now with regards on the transitory nature
-- comparison with the transitory nature of a special dividend, I think, again, it goes back to the way that we
look at the buyback with regard to our shareholders. Buying, repurchasing shares during a volatile movement
in the stock price.


I think our shareholders prefer to have the assurity of special dividends coming back to them as opposed to us
trying to time the volatility in the markets. Now that's different from, again, I would go back to what we call a
significant market dislocation where I think you'd have an opportunity there that would compete very favorably
to create long-term shareholder value.


Doug Leggate -- Bank of America Merrill Lynch -- Analyst
                  Case 1:24-md-03119-MLG-LF       Document 125-1     Filed 02/24/25   Page 32 of 39
Is that a tricky one, I guess, a special dividend isn't reinvesting? And if you think your stock is undervalued, then
one could argue that the volatility is something you've got to live with that you think -- I guess we're never going
to -- we're probably not going to agree on this, but it seems to me the special dividend is -- yes, it's the lesser
permanent impact from the share price, I guess, is what I was getting at. But anyway, I appreciate your answer,
as I always appreciate your perspective. Thank you.


Ezra Yacob -- President


Thank you.


Operator


Our next question comes from Paul Cheng from Scotiabank. Paul, please go ahead.


Paul Cheng -- Scotiabank -- Analyst


Thank you. Good morning. Two questions, please. Also, could you comment on the A&D market.


In, for example, in Eagle Ford, I think you gentlemen have said the asset is getting a little bit higher. So do you
see opportunity to make maybe more sizable bolt-on acquisition that to beef up the operation there? And
secondly, that just wondering that have you guys got a chance to review the new standard proposal on the tax
law changes? And how that -- what will be any major impact to EOG? Thank you.


Ezra Yacob -- President
                  Case 1:24-md-03119-MLG-LF       Document 125-1    Filed 02/24/25   Page 33 of 39
Thank you, Paul. This is Ezra. Let me attack that first question on the Eagle Ford, and then I'll hand it over to
Tim Driggers to give some feedback on the tax law proposals. So on the A&D market there in the Eagle Ford,
yes, let me clarify how we're viewing the Eagle Ford right now.


We're on pace to deliver for the second year in a row, basically record rates of return and record finding costs
in our drilling program there. And the big thing that it comes to is it kind of fits back into some of my opening
comments, talking about the right investment rate for plays at different life cycles. So clearly, our Eagle Ford
position has reached a point where it's not a main focus area for growth anymore. But what we see is a very,
very long runway of exceptional returns on those wells as you reinvest in them, assuming that we're moving at
the right pace where our team has the ability to execute on lowering costs, increasing incrementally the well
productivity.


As far as expanding our footprint there, we still have a very robust Eagle Ford inventory position. When I think
about the Eagle Ford position, we've talked about 7,000 locations and being approximately halfway drilled
through those locations. So still well over 10 years' worth of inventory to drill on. The other thing about looking
to do A&D in an established basin like that is just going to be the cost of acquisition.


We primarily focus our exploration efforts, and we always have for the two decades that we've been involved in
unconventional resources on organic or greenfield lease acquisitions because that low cost of entry is
critically important to providing through-cycle value to the shareholders. Those -- the PDP value that you would
have to pay for in an established area or just established acreage prices, those things stay with you on your
books forever. It raises the cost base of the company and is really antithesis to what we've been trying to do
                  Case 1:24-md-03119-MLG-LF      Document 125-1     Filed 02/24/25   Page 34 of 39
over the last few years by shifting to premium and now double premium drilling. Tim, would you like to please
comment on the tax proposals?


Tim Driggers -- Chief Financial Officer


Paul, as far as the proposal, we're in the process of reviewing that as is everyone else currently, but specifically
looking at the minimum tax proposal. We do not see that as having any detriment to EOG. We are a full
taxpayer already. So as we model it currently, it will have no impact on EOG.


Operator


Our next question comes from Jeanine Wai from Barclays. Jeanine, please go ahead.


Jeanine Wai -- Barclays -- Analyst


Hi. Thanks for taking our questions. Maybe just following up on Paul's question there. Low-cost bolt-ons have
always been part of your capital allocation strategy.


And we noticed the cash flow statement had about $350 million of that in there. Any color on whether that was
primarily blocking and tackling in your active areas? Or is that more on the exploration front?


Billy Helms -- Chief Operating Officer


Yes. Jeanine, this is Billy Helms. That particular acquisition is really just an opportunity we found to bolt on
some largely primarily acreage in some of our exploration plays, very little lift, no production on those plays.
                   Case 1:24-md-03119-MLG-LF    Document 125-1     Filed 02/24/25   Page 35 of 39
And it just is another way that we continue to add and grow at a low cost, our exploration opportunity set that
we see in the future of the company.


Jeanine Wai -- Barclays -- Analyst


OK. Great. And then maybe just a quick 1 on marketing. You talked about -- you've got optionality for up to
250,000 barrels a day of Brent exposure.


You're not electing that much right now, but we're looking at your production levels out of the Permian and the
Eagle Ford. And so what's the capacity to increase beyond that 250 or maybe to get to that 250? And if you
were to take on some more exposure on that, is this really looking at things more on the contract side? Or are
you also securing to -- or are you also open to securing more docks based on your own?


Lance Terveen -- Senior Vice President, Marketing


Jeanine, thanks for the question. Good question, too, is timely. The exports, especially for crude oil has been
an important component of our marketing strategy. But when you really look just from an industry standpoint,
too, I mean, refiners in the U.S.


are not expanding. I mean, if anything, it's degrading, right? I mean we're seeing our market share. You're
seeing refineries shutting down. You're seeing refineries that are being repurposed.


And so we had a view going all the way back to 2018 that we wanted to have a significant export position that
we could access from multiple plays. And I know one of your questions there was just how do we think about
                    Case 1:24-md-03119-MLG-LF    Document 125-1    Filed 02/24/25   Page 36 of 39
the Delaware Basin? Or how do we think about the Eagle Ford? And you're exactly right. That was all in our
contracting that we wanted to be able to have a large position that we could access from both of those plays.
So if you think about it today, we have that 250 and yes that facility is expandable, but we have 5 million barrels
of storage.


I mean we can segregate WTL, WTI. We can segregate our Eagle Ford. I mean, we're in a premier position as
we think about from a low cost and being in early with our tankage position and then also with the capacity
that we have out of the Delaware Basin from a transport position and also from the Eagle Ford. So what I
would say is we can transact very quickly we have tankage that's in place.


And so if we feel the need that we needed to push more across, that's absolutely something that we could do.


Jeanine Wai -- Barclays -- Analyst


Great. Thank you.


Operator


Our next question comes from Neil Mehta from Goldman Sachs. Neil, please go ahead.


Neil Mehta -- Goldman Sachs -- Analyst


Hey. Good morning, Ezra and team. Just one question for me. It's just -- can you give us the lay of the land of
how the Dorado program is shaping up? How do you think about the net asset as we go into next year from a
                   Case 1:24-md-03119-MLG-LF      Document 125-1     Filed 02/24/25   Page 37 of 39
planning perspective, but as we continue to see the gas curve has firmed up here, how do you think Dorado
could fit into the overall U.S.


gas picture?


Ken Boedeker -- Executive Vice President, Exploration and Production


Yes, Neil, this is Ken. At this time, we really have two drilling reactive in the Dorado play. And just to give you a
little bit of a background on it, since 2018, we've drilled and completed over 30 of our 1,250 premium locations,
both in the Austin Chalk and the Eagle Ford, and we've really made excellent progress on reducing well cost
and enhancing our geologic understanding and increasing our well performance. We're -- we've increased our
lateral length and we're really operationally being able to execute.


As far as how 2023 goes, it's a little early to talk about the 2023 program yet. Obviously, we'll remain
disciplined with our investment there, first, to make sure that the market needs the gas and second, to make
sure we're operationally getting better. We -- one thing to keep in mind is really don't need a lot of wells there to
grow production significantly given the performance of the wells and their shallow decline rates.


Operator


In the interest of time, that is the end of the Q&A session today. So I'll now hand you over to Mr. Yacob for
closing remarks.


Ezra Yacob -- President
                     Case 1:24-md-03119-MLG-LF   Document 125-1   Filed 02/24/25   Page 38 of 39
Yes. And we want to thank everyone for participating in the call this morning, and thanks to our shareholders
for their continued support. We especially want to recognize our employees for their performance this quarter.
Our discussion today highlights their focus on making EOG a low-cost operator, generating high returns and
lowering our environmental footprint each and every year.


Thank you.


Operator


[Operator signoff]


Duration: 0 minutes


Call participants:
Tim Driggers -- Chief Financial Officer


Ezra Yacob -- President


Billy Helms -- Chief Operating Officer


Ken Boedeker -- Executive Vice President, Exploration and Production


Jeff Leitzell -- Executive Vice President, Exploration and Production


Lance Terveen -- Senior Vice President, Marketing
                           Case 1:24-md-03119-MLG-LF                     Document 125-1             Filed 02/24/25          Page 39 of 39
Leo Mariani -- MKM Partners -- Analyst


Arun Jayaram -- J.P. Morgan -- Analyst


Scott Hanold -- RBC Capital Markets -- Analyst


Scott Gruber -- Citi -- Analyst


Neal Dingmann -- Truist Securities -- Analyst


Doug Leggate -- Bank of America Merrill Lynch -- Analyst


Paul Cheng -- Scotiabank -- Analyst


Jeanine Wai -- Barclays -- Analyst


Neil Mehta -- Goldman Sachs -- Analyst


More EOG analysis


All earnings call transcripts

This article is a transcript of this conference call produced for The Motley Fool. While we strive for our Foolish Best, there may be errors, omissions, or inaccuracies in
this transcript. As with all our articles, The Motley Fool does not assume any responsibility for your use of this content, and we strongly encourage you to do your own
research, including listening to the call yourself and reading the company's SEC filings. Please see our Terms and Conditions for additional details, including our
Obligatory Capitalized Disclaimers of Liability.

The Motley Fool has no position in any of the stocks mentioned. The Motley Fool has a disclosure policy.
